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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

                         Case No. 3:20-cv-01446-HES-PDB

 GAROLD L. WOOD, individually, and
 on behalf of all others similarly situated,

 Plaintiff,

 v.

 CMRE FINANCIAL SERVICES,

 Defendant.
 _________________________________/

                       AMENDED MEDIATION REPORT

     In accordance with the Court’s mediation order(s), a mediation conference
was held on December 10, 2021, and the results of that conference are indicated
below:

      (a) The following individuals, parties, corporate representatives, and/or
claims professionals attend and participated in the mediation conference, and each
possessed the requisite authority:

       For Plaintiff: Garold Wood, and Mohammed Badwan, Esq. and Alejandro
       Figueroa, Esq., attorney for Plaintiff.

       For Defendant: Jill Cloys, Director of Compliance, Meduit. Meduit is the
       ultimate parent of CMRE, and Stephen A. Watkins, Esq., attorney for
       Defendant.

      (b) The following individuals, parties, corporate representatives, and/or
claims professionals failed to appear and/or participate as ordered:

       None
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      (c)   The outcome of the mediation conference was:

     A settlement was reached at the mediation and a written settlement
agreement has been fully executed by the parties.

      Done this 6th day of January, 2022, in Orange County, Orlando, Florida.

                                     /s/ Gary S. Salzman
                                     Gary S. Salzman, Mediator
                                     Garganese, Weiss, D’Agresta & Salzman, P.A.
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                                     Orlando, Florida 32801
                                     (407) 425-9566
                                     gsalzman@orlandolaw.net
